            Case 5:18-fj-00003-HE Document 68 Filed 05/02/19 Page 1 of 8




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF OKLAHOMA

MARVIN KENT POWELL and                       )
SHAWNA POWELL,                               )
                                             )
                       Plaintiffs,           )
       v.                                    )      Case No. 5:18-FJ-00003-HE
                                             )
WILBANKS SECURITIES, INC., an                )
Oklahoma Corporation, and AARON              )
BRONELLE WILBANKS, individually,             )
                                             )
                       Defendants,           )
                                             )
                       and                   )
                                             )
First Fidelity Bank,                         )
                                             )
                       Garnishee.            )

                       Post-Judgment General Garnishment Summons

The United States of America, to said Garnishee:

You are hereby summoned pursuant to the attached affidavit as garnishee for the defendants,
Aaron Bronelle Wilbanks and Wilbanks Securities, Inc., and required, within ten (10) days
from the date of service of this summons upon you, to answer according to law whether you are
indebted to, or have in your possession or under your control, any property belonging to such
judgment debtor, to file your answer with the Clerk of this Court, and, at the time that you file
your answer, to deliver or mail a copy of your answer to the judgment creditor’s attorney, or
judgment creditor if not represented by an attorney, and to the judgment debtor. If you are not a
financial institution, you are further ordered to withhold any such property or indebtedness
belonging to such judgment debtor or owing on the date of service of this summons, and to pay
the required amount and/or deliver the property to the attorney for judgment creditor or judgment
creditor if not represented by an attorney, unless otherwise ordered by the court when you file
your answer. If you are a financial institution, you may proceed in accordance with 31 CFR Part
212, or similar federal or state law, if applicable, and you are further ordered to withhold any
unprotected property or indebtedness belonging to such judgment debtor or owing on the date of
your review of the debtor’s account, and to pay such unprotected amount and/or deliver the
property to the attorney for judgment creditor or judgment creditor if not represented by an
attorney, unless otherwise ordered by the court when you file your answer.
           Case 5:18-fj-00003-HE Document 68 Filed 05/02/19 Page 2 of 8




If the garnishee is indebted to or holds property or money belonging to the judgment debtor, the
garnishee immediately shall mail by first-class mail a copy of the notice of garnishment and
exemptions, and the application for hearing, to the judgment debtor at the last-known address of
the judgment debtor shown on the records of the garnishee at the time the garnishment summons
was served on the garnishee. If more than one address is shown on the records of the garnishee
at the time of service of the summons, the garnishee shall discharge his duty by mailing to any
one of the addresses shown on its records. In lieu of mailing, the garnishee may hand-deliver a
copy of the Notice of Garnishment and Exemptions, and the Application for Hearing, to the
judgment debtor.

You are hereby directed to pay or deliver to the attorney for judgment creditor, or judgment
creditor if not represented by an attorney, with your answer the amount and/or property stated in
the answer, and in case of your failure to do so, you will be liable for further proceedings
according to law, and judgment shall be rendered against you in the amount of $1,971,302.12
together with costs in the principal action and costs of the garnishment proceeding.


             2nd
Issued this _______           May
                     day of ________________________, 2019, and shall be returned with proof
of service within ten (10) days of this date.


                                              ____________________________________
                                                          Court Clerk
                                                           8:10 am, May 02, 2019


                                              ____________________________________
                                                          By: Deputy

Plaintiff Marvin Kent Powell and Shawna Powell

Attorney Nicholas M. Tait, OBA No. 22739
Address 201 S. 72nd W. Ave.
         Tulsa, OK 74127
Phone: 918.706.7521

(Pursuant to 12 O.S. § 1190 a judgment creditor must remit a Twenty-five Dollar ($25.00) fee
for costs to any federally insured depository institution garnishee. Fee must be delivered with the
garnishment summons.)
            Case 5:18-fj-00003-HE Document 68 Filed 05/02/19 Page 3 of 8




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF OKLAHOMA

MARVIN KENT POWELL and                       )
SHAWNA POWELL,                               )
                                             )
                      Plaintiffs,            )
       v.                                    )      Case No. 5:18-FJ-00003-HE
                                             )
WILBANKS SECURITIES, INC., an                )
Oklahoma Corporation, and AARON              )
BRONELLE WILBANKS, individually,             )
                                             )
                      Defendants,            )
                                             )
                      and                    )
                                             )
John Hancock Life Ins. Co. (U.S.A.),         )
                                             )
                      Garnishee.             )

                Amended Post-Judgment Continuing Garnishment Summons

The United States of America, to said Garnishee:

You are hereby summoned pursuant to the attached affidavit as garnishee for the defendants,
Aaron Bronelle Wilbanks and Wilbanks Securities, Inc., and required, within ten (10) days
from the date of service of this summons upon you, to answer according to law whether you are
indebted to, or have in your possession or under your control, any property belonging to such
judgment debtor, to file your answer with the Clerk of this Court, and, at the time that you file
your answer, to deliver or mail a copy of your answer to the judgment creditor’s attorney, or
judgment creditor if not represented by an attorney, and to the judgment debtor. If you are not a
financial institution, you are further ordered to withhold any such property or indebtedness
belonging to such judgment debtor or owing on the date of service of this summons, and to pay
the required amount and/or deliver the property to the attorney for judgment creditor or judgment
creditor if not represented by an attorney, unless otherwise ordered by the court when you file
your answer. If you are a financial institution, you may proceed in accordance with 31 CFR Part
212, or similar federal or state law, if applicable, and you are further ordered to withhold any
unprotected property or indebtedness belonging to such judgment debtor or owing on the date of
your review of the debtor’s account, and to pay such unprotected amount and/or deliver the
property to the attorney for judgment creditor or judgment creditor if not represented by an
attorney, unless otherwise ordered by the court when you file your answer.
           Case 5:18-fj-00003-HE Document 68 Filed 05/02/19 Page 4 of 8




If the garnishee is indebted to or holds property or money belonging to the judgment debtor, the
garnishee immediately shall mail by first-class mail a copy of the notice of garnishment and
exemptions, and the application for hearing, to the judgment debtor at the last-known address of
the judgment debtor shown on the records of the garnishee at the time the garnishment summons
was served on the garnishee. If more than one address is shown on the records of the garnishee
at the time of service of the summons, the garnishee shall discharge his duty by mailing to any
one of the addresses shown on its records. In lieu of mailing, the garnishee may hand-deliver a
copy of the Notice of Garnishment and Exemptions, and the Application for Hearing, to the
judgment debtor.

You are hereby directed to pay or deliver to the attorney for judgment creditor, or judgment
creditor if not represented by an attorney, with your answer the amount and/or property stated in
the answer, and in case of your failure to do so, you will be liable for further proceedings
according to law, and judgment shall be rendered against you in the amount of $1,971,302.12,
together with costs in the principal action and costs of the garnishment proceeding.


             2nd
Issued this _______            May
                     day of ________________________, 20______, and shall be returned with
proof of service within ten (10) days of this date.


                                            ____________________________________
                                                        Court Clerk
                                                              8:10 am, May 02, 2019


                                            ____________________________________
                                                        By: Deputy

Plaintiff Marvin Kent Powell and Shawna Powell

Attorney Nicholas M. Tait, OBA No. 22739
Address 201 S. 72nd W. Ave.
         Tulsa, OK 74127
Phone: 918.706.7521
            Case 5:18-fj-00003-HE Document 68 Filed 05/02/19 Page 5 of 8




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF OKLAHOMA

MARVIN KENT POWELL and                       )
SHAWNA POWELL,                               )
                                             )
                      Plaintiffs,            )
       v.                                    )      Case No. 5:18-FJ-00003-HE
                                             )
WILBANKS SECURITIES, INC., an                )
Oklahoma Corporation, and AARON              )
BRONELLE WILBANKS, individually,             )
                                             )
                      Defendants,            )
                                             )
                      and                    )
                                             )
Prosperity Bank,                             )
                                             )
                      Garnishee.             )

                       Post-Judgment General Garnishment Summons

The United States of America, to said Garnishee:

You are hereby summoned pursuant to the attached affidavit as garnishee for the defendants,
Aaron Bronelle Wilbanks and Wilbanks Securities, Inc., and required, within ten (10) days
from the date of service of this summons upon you, to answer according to law whether you are
indebted to, or have in your possession or under your control, any property belonging to such
judgment debtor, to file your answer with the Clerk of this Court, and, at the time that you file
your answer, to deliver or mail a copy of your answer to the judgment creditor’s attorney, or
judgment creditor if not represented by an attorney, and to the judgment debtor. If you are not a
financial institution, you are further ordered to withhold any such property or indebtedness
belonging to such judgment debtor or owing on the date of service of this summons, and to pay
the required amount and/or deliver the property to the attorney for judgment creditor or judgment
creditor if not represented by an attorney, unless otherwise ordered by the court when you file
your answer. If you are a financial institution, you may proceed in accordance with 31 CFR Part
212, or similar federal or state law, if applicable, and you are further ordered to withhold any
unprotected property or indebtedness belonging to such judgment debtor or owing on the date of
your review of the debtor’s account, and to pay such unprotected amount and/or deliver the
property to the attorney for judgment creditor or judgment creditor if not represented by an
attorney, unless otherwise ordered by the court when you file your answer.
           Case 5:18-fj-00003-HE Document 68 Filed 05/02/19 Page 6 of 8




If the garnishee is indebted to or holds property or money belonging to the judgment debtor, the
garnishee immediately shall mail by first-class mail a copy of the notice of garnishment and
exemptions, and the application for hearing, to the judgment debtor at the last-known address of
the judgment debtor shown on the records of the garnishee at the time the garnishment summons
was served on the garnishee. If more than one address is shown on the records of the garnishee
at the time of service of the summons, the garnishee shall discharge his duty by mailing to any
one of the addresses shown on its records. In lieu of mailing, the garnishee may hand-deliver a
copy of the Notice of Garnishment and Exemptions, and the Application for Hearing, to the
judgment debtor.

You are hereby directed to pay or deliver to the attorney for judgment creditor, or judgment
creditor if not represented by an attorney, with your answer the amount and/or property stated in
the answer, and in case of your failure to do so, you will be liable for further proceedings
according to law, and judgment shall be rendered against you in the amount of $1,971,302.12,
together with costs in the principal action and costs of the garnishment proceeding.


             2nd
Issued this _______           May
                     day of ________________________, 2019, and shall be returned with proof
of service within ten (10) days of this date.


                                              ____________________________________
                                                          Court Clerk
                                                             8:09 am, May 02, 2019


                                              ____________________________________
                                                          By: Deputy

Plaintiff Marvin Kent Powell and Shawna Powell

Attorney Nicholas M. Tait, OBA No. 22739
Address 201 S. 72nd W. Ave.
         Tulsa, OK 74127
Phone: 918.706.7521

(Pursuant to 12 O.S. § 1190 a judgment creditor must remit a Twenty-five Dollar ($25.00) fee
for costs to any federally insured depository institution garnishee. Fee must be delivered with the
garnishment summons.)
            Case 5:18-fj-00003-HE Document 68 Filed 05/02/19 Page 7 of 8




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF OKLAHOMA

MARVIN KENT POWELL and                       )
SHAWNA POWELL,                               )
                                             )
                       Plaintiffs,           )
       v.                                    )      Case No. 5:18-FJ-00003-HE
                                             )
WILBANKS SECURITIES, INC., an                )
Oklahoma Corporation, and AARON              )
BRONELLE WILBANKS, individually,             )
                                             )
                       Defendants,           )
                                             )
                       and                   )
                                             )
Protective Life Ins. Co.,                    )
                                             )
                       Garnishee.            )

                        Post-Judgment General Garnishment Summons

The United States of America, to said Garnishee:

You are hereby summoned pursuant to the attached affidavit as garnishee for the defendants,
Aaron Bronelle Wilbanks and Wilbanks Securities, Inc., and required, within ten (10) days
from the date of service of this summons upon you, to answer according to law whether you are
indebted to, or have in your possession or under your control, any property belonging to such
judgment debtor, to file your answer with the Clerk of this Court, and, at the time that you file
your answer, to deliver or mail a copy of your answer to the judgment creditor’s attorney, or
judgment creditor if not represented by an attorney, and to the judgment debtor. If you are not a
financial institution, you are further ordered to withhold any such property or indebtedness
belonging to such judgment debtor or owing on the date of service of this summons, and to pay
the required amount and/or deliver the property to the attorney for judgment creditor or judgment
creditor if not represented by an attorney, unless otherwise ordered by the court when you file
your answer. If you are a financial institution, you may proceed in accordance with 31 CFR Part
212, or similar federal or state law, if applicable, and you are further ordered to withhold any
unprotected property or indebtedness belonging to such judgment debtor or owing on the date of
your review of the debtor’s account, and to pay such unprotected amount and/or deliver the
property to the attorney for judgment creditor or judgment creditor if not represented by an
attorney, unless otherwise ordered by the court when you file your answer.
           Case 5:18-fj-00003-HE Document 68 Filed 05/02/19 Page 8 of 8




If the garnishee is indebted to or holds property or money belonging to the judgment debtor, the
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the judgment debtor shown on the records of the garnishee at the time the garnishment summons
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at the time of service of the summons, the garnishee shall discharge his duty by mailing to any
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creditor if not represented by an attorney, with your answer the amount and/or property stated in
the answer, and in case of your failure to do so, you will be liable for further proceedings
according to law, and judgment shall be rendered against you in the amount of $1,971,302.12,
together with costs in the principal action and costs of the garnishment proceeding.


             2nd
Issued this _______             May
                     day of ________________________, 2019, and shall be returned with proof
of service within ten (10) days of this date.


                                            ____________________________________
                                                        Court Clerk
                                                             8:10 am, May 02, 2019


                                            ____________________________________
                                                        By: Deputy

Plaintiff Marvin Kent Powell and Shawna Powell

Attorney Nicholas M. Tait, OBA No. 22739
Address 201 S. 72nd W. Ave.
         Tulsa, OK 74127
Phone: 918.706.7521
